Case 1:14-cv-00217-HG-RLP Document 78-12 Filed 01/26/15 Page 1 of 13     PageID.1877




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   Attorneys on behalf of Plaintiffs

                   IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAII

   CARA BARBER, MELISSA                  )   CIVIL NO.: 14-00217 HG-KSC
   JONES, MELISSA STREETER, and          )
   KATIE ECKROTH, On Behalf of           )   NOTICE OF TAKING
   Themselves And All Others Similarly   )   DEPOSITION UPON WRITTEN
   Situated,                             )   INTERROGATORIES RE
                                         )   CUSTODIAN OF RECORD,
                Class Plaintiffs,        )   BECKER COMMUNICATIONS;
                                         )   EXHIBIT “A”; CERTIFICATE
         vs.                             )   OF SERVICE
                                         )
   OHANA MILITARY                        )   Trial Date: June 9, 2015
   COMMUNITIES, LLC, FOREST              )   Judge:      Hon. Helen Gillmor
   CITY RESIDENTIAL                      )
   MANAGEMENT, INC.; and DOE             )
   DEFENDANTS 1-10,                      )
                                         )
                Defendants.              )



                                                                       Exhibit I
Case 1:14-cv-00217-HG-RLP Document 78-12 Filed 01/26/15 Page 2 of 13       PageID.1878




               NOTICE OF TAKING DEPOSITION UPON
        WRITTEN INTERROGATORIES RE CUSTODIAN OF RECORD,
                    BECKER COMMUNICATIONS


   TO: GOODSILL ANDERSON QUINN & STIFEL
       Lisa Woods Munger, Esq.
       Randall C. Whattoff, Esq.
       Christine A. Terada, Esq.
       First Hawaiian Center, Suite 1600
       999 Bishop St.
       Honolulu, HI 96813

         PLEASE TAKE NOTICE that on behalf of Plaintiffs above-named, the

   following deposition will be taken at the date and time given below, upon written

   interrogatories as may be duly served herein at the deponent’s offices, before a

   Notary Public from the offices of Ralph Rosenberg Court Reporters, 1001 Bishop

   St., 2460 ASB Tower, Honolulu, HI 96813, duly authorized to administer oaths, of

   the following:

         Deponent                              Date
         Custodian of Record                   January 30, 2015 at 11:30 a.m.
         Becker Communications
         119 Merchant St., #300
         Honolulu, HI 96813
         808-533-4165

         Said Custodian of Record will be required by Subpoena to Produce

   Documents, Information, or Objects or to Permit Inspection of Premises in a Civil

   Action, a copy of which is attached hereto as Exhibit “A”, to bring with him/her

   and have available for production any and all records, in their native format,



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   including, but not limited to:

         (1)    all correspondence, emails, reports, texts, plans, maps, permits, field

                notes, reports, communications, test results, spreadsheets, or other

                documents between yourself and Ohana Military Communities, Inc.,

                Forest City Residential Management, LLC, and/or any of their agents

                or affiliates; and

         (2)    all correspondence, emails, reports, texts, plans, maps, permits, field

                notes, reports, communications, test results, spreadsheets, or other

                documents that discuss or relate to environmental contamination (e.g.

                pesticides, lead, radon, fuel, asbestos, lead, etc.) of any kind at Marine

                Corp Base Hawaii.

         Witness is hereby notified that he/she may request a review of the completed

   transcript or recording of your deposition. Witness must make this request before

   the completion of their deposition. If he/she makes such a request, after being

   notified by the court reporter or other officer taking the deposition that the

   transcript or recording is available, he/she will have 30 days to (1) review the

   transcript or recording; and (2) if there are changes in form or substance, to sign a

   statement reciting such changes and reasons for making them.

         This deposition is to be taken pursuant to Rule 31 of the Federal Rules of

   Civil Procedure.



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        DATED: Kailua, Hawaii, this 7th day of January 2015.



                                            P. KYLE SMITH
                                            CHRISTINA LAMBE
                                            TERRANCE M. REVERE
                                            MALIA R. NICKISON-BEAZLEY

                                            Attorneys for Plaintiffs
                                            CARA BARBER, MELISSA JONES,
                                            MELISSA STREETER, and KATIE
                                            ECKROTH, On Behalf of
                                            Themselves And All Others Similarly
                                            Situated




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                                      QUESTIONS


   1.    Please state your name.

   2.    What is your residence address?

   3.    Are you employed?

   4.    What is your employer's name?

   5.    What is your employer's address?

   6.    What is your job or position with your employer?

   7.    In that position, do you have under your care, custody and/or control, any
         and all records kept by your employer pertaining to your employer’s
         business?

   8.    Among your employer’s records under your care, custody and/or control, are
         there any and all records, in their native format, including, but not limited to:

         (a)   all correspondence, emails, reports, texts, plans, maps, permits, field
               notes, reports, communications, test results, spreadsheets, or other
               documents between yourself and Ohana Military Communities, Inc.,
               Forest City Residential Management, LLC, and/or any of their agents
               or affiliates; and

         (b)   all correspondence, emails, reports, texts, plans, maps, permits, field
               notes, reports, communications, test results, spreadsheets, or other
               documents that discuss or relate to environmental contamination (e.g.
               pesticides, lead, radon, fuel, asbestos, lead, etc.) of any kind at Marine
               Corp Base Hawaii?

   9.    If your answer to Question 8 is No, state the reason why there are no records
         or why the records are not being turned over.

   10.   Were you served with a Subpoena to Produce Documents, Information, or
         Objects or to Permit Inspection of Premises in a Civil Action requiring your
         appearance before the Notary Public for the purpose of answering these
         questions and requiring you to bring with you any and all of your employer’s
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         records pertaining to the above-mentioned person?

   11.   Do you have all of those records with you?

   12.   Are those records complete?

   13.   Has any portion of those records ever been removed from your care, custody
         and/or control prior to this time?

   14.   If so, when and by whom?

   15.   Has any portion of those records ever been altered prior to this time?

   16.   If so, when and by whom?

   17.   What identifies those records as pertaining to the above-mentioned person?

   18.   Would you please turn over to the Notary Public at this time the originals or
         complete and legible copies of any and all of your employer’s records
         pertaining to the above-mentioned documents, which you have brought with
         you pursuant to the requirements of the subpoena with which you were
         served.

   19.   Please describe briefly but completely so that they may be readily identified
         any of your employer’s records pertaining to the above-mentioned
         documents, which you have turned over to the notary public.

   20.   Please describe briefly but completely so that they may be readily identified
         any of your employer’s records pertaining to the above-mentioned
         documents, which you have not turned over to the notary public, including
         both those records which you have brought with you and those records
         which you have not brought with you.

   21.   Will you waive your signature to your deposition?




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  A0 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Prem
                                                                                                               ises in a Civil Action

                                         United States District Court
                                                                          for the
                                                                  District of Hawaii
                    CARA BARBER, ET AL.
                                Plaintiff
                                   V.                                                  Civil Action No. 14"°0217 HG-KSC
    OHANA MILITARY COMMUNITIES, LLC, ET AL

                               Defendant

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
  To: Custodian of Records, Hawaii State Department of Health, 919 Ala Moana Blvd., Room 206, Honolulu, HI 96814

                                                       (Name of person to whom this subpoena is directed)
     « Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See attached.



  Place: Ra|pri Rosenberg Court Reporters, 1001 Bishop St.,                            Date and Time:
         2460 ASB Tower, Honolulu, HI 96813
         808-524-2090                                                                                      01/30/2015 11:00 am

      □ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                              Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:        01/07/2015

                                  CLERK OF COURT
                                                                                          OR

                                            Signature of Clerk or Deputy Clerk                           \ Attorney's signatt
                                                                                                                        signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiffs
C a r a B a r b e r, e t a l . , w h o i s s u e s o r r e q u e s t s t h i s s u b p o e n a , a r e :
 P. Kyle Smith, 970 N. Kalaheo Ave., #A301, Kailua, HI 96734, 808-791-9555

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


                                                                EXHIBITA
Case 1:14-cv-00217-HG-RLP Document 78-12 Filed 01/26/15 Page 8 of 13                                                                         PageID.1884

 AO 88B (Rev, 02/14) Subpoena to Produce Documents. Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

 Civil Action No. 14-00217 HG-KSC

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this Subpoena for (name of individual and title, if any)
 on (date)


             O I served the subpoena by delivering a copy to the named person as follows:


                                                                                          on            (date)                ;        or
          O I returned the subpoena unexecuted because:


          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, 1 have also
          tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
         $                                        .

My fees are $ for travel and $ for services, for a total of $ 0.00


         I declare under penalty of perjury that this information is true.


Date:
                                                                                                  Server's signature



                                                                                                Printed name and title




                                                                                                   Server's address

Additional information regarding attempted service, etc.:
Case 1:14-cv-00217-HG-RLP Document 78-12 Filed 01/26/15 Page 9 of 13                    PageID.1885




        Attachment

        All records and documents, in their native format, including but not limited to, all
        correspondence, emails, reports, texts, plans, maps, permits, field notes, reports,
        communications, test results, spreadsheets, or other documents between
        yourself and Ohana Military Communities, Inc., Forest City Residential
        Management, LLC, and/or any of their agents or affiliates.

        All records and documents, in their native format, including but not limited to, all
        correspondence, emails, reports, texts, plans, maps, permits, field notes, reports,
        communications, test results, spreadsheets, or other documents that discuss or
        relate to environmental contamination (e.g. pesticides, lead, radon, fuel,
        asbestos, lead, etc.) of any kind at Marine Corp Base Hawaii.
      Case 1:14-cv-00217-HG-RLP
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                            Document      78-12
                                     60 Filed     Filed 01/26/15
                                              01/07/15   Page 1 ofPage 10 of 13#: 1670
                                                                  2 PageID
                                  PageID.1886



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  F: (808) 791-9551
  Attorneys on behalf of Plaintiffs

                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII

  CARA BARBER, MELISSA                   )   CIVIL NO.: 14-00217 HG-KSC
  JONES, MELISSA STREETER, and           )
  KATIE ECKROTH, On Behalf of            )   CERTIFICATE OF SERVICE
  Themselves And All Others Similarly    )
  Situated,                              )   [RE: NOTICE OF TAKING
                                         )   DEPOSITION UPON WRITTEN
               Class Plaintiffs,         )   INTERROGATORIES RE
                                         )   CUSTODIAN OF RECORD,
        vs.                              )   BECKER COMMUNICATIONS]
                                         )
  OHANA MILITARY                         )   Trial Date: June 9, 2015
  COMMUNITIES, LLC, FOREST               )   Judge:      Hon. Helen Gillmor
  CITY RESIDENTIAL                       )
  MANAGEMENT, INC.; and DOE              )
  DEFENDANTS 1-10,                       )
                                         )
               Defendants.               )
      Case 1:14-cv-00217-HG-RLP
Case 1:14-cv-00217-HG-KSC        Document
                            Document      78-12
                                     60 Filed     Filed 01/26/15
                                              01/07/15   Page 2 ofPage 11 of 13#: 1671
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                          CERTIFICATE OF SERVICE

        I hereby certify that on the date and by the means indicated below, a true and

  correct copy of the foregoing was duly served on the parties listed below at their

  last known addresses by electronic service through CM/ECF and by e-mail:

        GOODSILL ANDERSON QUINN & STIFEL
        Lisa Woods Munger, Esq.        lmunger@goodsill.com
        Randall C. Whattoff, Esq.      rwhattoff@goodsill.com
        Christine A. Terada, Esq.      cterada@goodsill.com
        First Hawaiian Center, Suite 1600
        999 Bishop St.
        Honolulu, HI 96813

        Attorneys for Defendants
        OHANA MILITARY COMMUNITIES,
        LLC, FOREST CITY RESIDENTIAL
        MANAGEMENT, INC

        DATED: Kailua, Hawaii, this 7th day of January 2015.



                                              P. KYLE SMITH
                                              CHRISTINA LAMBE
                                              TERRANCE M. REVERE
                                              MALIA R. NICKISON-BEAZLEY

                                              Attorneys for Plaintiffs
                                              CARA BARBER, MELISSA JONES,
                                              MELISSA STREETER, and KATIE
                                              ECKROTH, On Behalf of
                                              Themselves And All Others Similarly
                                              Situated




                                       2
          Case 1:14-cv-00217-HG-RLP Document 78-12 Filed 01/26/15 Page 12 of 13
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Subject: Ac#vity	  in	  Case	  1:14-­‐cv-­‐00217-­‐HG-­‐KSC	  Barber	  v.	  Ohana	  Military	  Communi#es,	  LLC	  Cer#ﬁcate	  of
         Service
Date: Wednesday,	  January	  7,	  2015	  at	  11:05:16	  AM	  Hawaii-­‐Aleu#an	  Standard	  Time
From: hid_resp@hid.uscourts.gov	  <hid_resp@hid.uscourts.gov>
To:      hawaii_cmecf@hid.uscourts.gov	  <hawaii_cmecf@hid.uscourts.gov>
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                                                          U.S. District Court

                                                          District of Hawaii

Notice of Electronic Filing

The following transaction was entered by Smith, Patrick on 1/7/2015 at 11:05 AM HST and filed on
1/7/2015
Case Name:           Barber v. Ohana Military Communities, LLC
Case Number:         1:14-cv-00217-HG-KSC
Filer:               Cara Barber
                     Katie Eckroth
                     Melissa Jones
                     Melissa Streeter
Document Number: 60

Docket Text:
CERTIFICATE OF SERVICE by Cara Barber, Katie Eckroth, Melissa Jones, Melissa Streeter
NOTICE OF TAKING DEPOSITION UPON WRITTEN INTERROGATORIES RE CUSTODIAN OF
RECORD, BECKER COMMUNICATIONS (Smith, Patrick)


1:14-cv-00217-HG-KSC Notice has been electronically mailed to:

Christine A. Terada          cterada@goodsill.com, cmuraoka@goodsill.com

Lisa W. Munger           lmunger@goodsill.com, bbrickwood@goodsill.com, clarsendias@goodsill.com

Patrick Kyle Smith kyle@lhsshawaii.com, christina@lhsshawaii.com, jill@lhsshawaii.com,
mark@lhsshawaii.com

Randall C. Whattoff           rwhattoff@goodsill.com, jkoda@goodsill.com

Terrance M. Revere terry@revereandassociates.com, jd@revereandassociates.com,
leina@revereandassociates.com, main@revereandassociates.com, malia@revereandassociates.com

1:14-cv-00217-HG-KSC Notice will not be electronically mailed to:

Malia R. Nickison-Beazley
Revere & Associates

                                                                                                                                               Page	  1 	  of	  2
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                                  PageID.1889

Pali Palm Plaza
970 N. Kalaheo Ave. Suite A-301
Kailua, HI 96734

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1095854936 [Date=1/7/2015] [FileNumber=1838765-0]
[109391a95b915da5ca6350e2d7bc341ffe2a35904f52d088838c460a885772d219ca
7759c174e9fff43f360d12de2afa63a7938ff8eda794ed68ec42f2a9ce50]]




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